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                   UNITED STATES DISTRICT COURT
         FOR THE Northern District of Illinois − CM/ECF NextGen 1.7.1.1
                              Eastern Division

Pathway IP LLC, et al.
                                                         Plaintiff,
v.                                                                    Case No.:
                                                                      1:24−cv−05218
                                                                      Honorable Franklin
                                                                      U. Valderrama
The Individuals, Corporations, Limited Liability
Companies, Partnerships, and Unincorporated
Associations Identified on the Attached Schedule A, et
al.
                                                         Defendant.



                         NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Thursday, August 15, 2024:


        MINUTE entry before the Honorable Franklin U. Valderrama: On the grounds set
forth in the motion, Plaintiff's motion for an entry of a preliminary injunction [68] is
granted as to all remaining defendants, but excluding (1) Defendants who have posted a
bond (Defendant No. 7 VividNWUS, Defendant No. 8 XingBoom, Defendant No. 9
ShutterLight, Defendant No. 10 HiFocusiUS, Defendant No. 11 ShiQiaoShang, Defendant
No. 12 Jinsnow, Defendant No. 13 XuanXiuUS, Defendant No. 14 Photo Guard,
Defendant No. 50 Lixinshunyi, Defendant No. 58 catchpiccus, Defendant No. 75
QiHuichang, Defendant No. 76 RUIHOTOR, and Defendant No. 77 iphotoxx, Defendant
No. 17 Sensyne, Defendant No. 26 Wanfaau, Defendant No. 42 XITENG TECH,
Defendant No. 49 Blights, and Defendant No. 69 EESTOREAMZ, and (2) Defendants
who have appeared through counsel (Defendant No. 43 Aixiangpai, Defendant No. 1
Legee Tech, Defendant No. 5 BONFOTO, Defendant No. 15 PANYINYING, Defendant
No. 16 Qirui−US, Defendant No. 48 iphoto digit, Defendant No. 53 Lanyuantai,
Defendant No. 57 Pixel Lighting, Defendant No. 61 AMTLJ−US, Defendant No. 65
Auriani−US, Defendant No. 72 CY Direct US, Defendant No. 79 NovoNost−us,
Defendant No. 25 Kaiess, Defendant No. 74 Weilisi, Defendant No. 62 Jian jin company,
Defendant No. 28 Herrfilk, Defendant No. 40 STALLY, Defendant No. 66 Vlogging US,
Defendant No. 68 WisaKey US, Defendant No. 2 Luxsure−US, Defendant No. 60
Yarrashop Direct, Defendant No. 6 Unicucp US, Defendant No. 27 Woputne−US,
Defendant No. 41 Okshopping). The preliminary injunction does not apply to any
Defendant that has been voluntarily dismissed from this action. Enter Preliminary
Injunction Order as amended. The following documents are to be unsealed: (1) the
unredacted copy of the Verified Complaint [5], (2) Schedule A to the Verified Complaint
[5−1], (3) Exhibits 1 to the Verified Complaint [5−2], (4) Exhibit 2 to the Verified
Complaint [5−3], (5) Exhibit 6 to the Verified Complaint [5−4], (6) Notice of Claims
[5−5], and (6) the TRO [15]. Counsel for Plaintiff is ordered to add ALL Defendant
names listed in the Schedule A to the docket within three business days. The Court sets
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the following briefing schedule on the motion for a preliminary injunction as to the
appeared Defendants: appeared Defendants' response due 08/30/2024; Plaintiff's reply due
09/13/2024. Mailed notice. (jcm)




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